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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


NICOLE CHASE                                  :     NO.: 3:18-cv-00683 (VLB)
                                              :
v.                                            :
                                              :
NODINE’S SMOKEHOUSE, INC., et al              :     NOVEMBER 4, 2019

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                                      THE PLAINTIFF,
                                      NICOLE CHASE


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                                         CERTIFICATION


        I HEREBY CERTIFY that on the 4th day of November, 2019 a copy of the
foregoing was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by email to all parties by operation
of the court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access
this filing through the court’s CM/ECF System.
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